                                                                                          05/20/2019



                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                  Charlottesville Division


                                               )
      BRENNAN M. GILMORE,                      )
                                               )
         Plaintiff                             )               Case No. 3:18-CV-00017-NKM
                                               )
             v.                                )
                                               )
      ALEXANDER (“ALEX”) E. JONES;              )
      INFOWARS, LLC, a Texas Limited Liability )
      Company; FREE SPEECH SYSTEMS, LLC, a )
      Texas Limited Liability Company; LEE      )
      STRANAHAN; LEE ANN MCADOO A/K/A )
      LEE ANN FLEISSNER;                        )
      SCOTT CREIGHTON; JAMES (“JIM”)            )
      HOFT; DERRICK WILBURN;                    )
      MICHELE HICKFORD;                         )
      and WORDS-N-IDEAS, LLC,                  )
                                               )
         Defendants.                           )
                                               )


                                                     ORDER

          Upon consideration of the motion to set briefing schedule for resolution of motions for

  reconsideration and interlocutory appeal and for leave to file five additional pages by Plaintiff

  Brennan Gilmore, it is hereby:

          ORDERED that the motion to set briefing schedule for resolution of motions for

  reconsideration and interlocutory appeal is GRANTED; and it is further

          ORDERED that Plaintiff’s motion for leave to file five additional pages is GRANTED;

  Plaintiff shall have five additional pages to respond to Defendants’ motions, giving him a thirty

  page limit for his opposition; and it is further




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         ORDERED that the following briefing schedule shall apply to the remaining briefing of

  the motions for reconsideration or interlocutory appeal filed by defendants in the above-

  captioned case:

             1. Plaintiff’s Consolidated Opposition shall be due May 23, 2019;

             2. Reply briefs shall be due June 6, 2019.

         IT IS SO ORDERED.


     Date: May 10, 2019


                                JJoel
                                  oel C. Hoppe
                                 United
                                 U  it d St
                                         States
                                            t Magistrate
                                                M i t t JJudge
                                                           d




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